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1    MICHAEL B. BIGELOW
     Attorney at Law
2    State Bar No. 65211
     331 J Street, Suite 200
3    Sacramento, CA 95814
     Telephone: (916) 443-0217
4    Email:LawOffice.mbigelow@gmail.com
5    Attorney for Defendant
     Nicholas Ramirez
6
                     IN THE UNITED STATES DISTRICT COURT
7
                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,         )   Case No. Cr.S 11-190-MCE
10                                     )
                Plaintiff,             )   STIPULATION AND ORDER
11                                     )   CONTINUING PREIMINARY
          vs.                          )   EXAMINATION
12                                     )
     NICHOLAS RAMIREZ,                 )   Date: May 22, 2012
13                                     )   Time: 2:00 PM
                Defendant              )
14
                                           Court: GGH
                                       )
                                       )
15                                         ORDER

16        IT IS HEREBY STIPULATED by and between Assistant United
17   States Attorney Jason Hitt, Counsel for Plaintiff, and Attorney
18
     Michael Bigelow, Counsel for Nicholas Ramirez, that the
19
     preliminary hearing scheduled for May 14, 2012 at 2:00 PM, be
20
     vacated and the matter be continued to May 22, 2012 at 200 PM.
21
     For preliminary hearing
22
          This continuance is necessary because defendant Ramirez has
23
     just returned from Oklahoma and his relationship to his
24
     employers is tentative.    As noted, the matter has been discussed
25
     with the government and he has graciously agreed to this


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1    continuance. This continuance will also permit Mr. Ramirez to be
2    arraigned at the same time as the codefendants in this
3
     case.
4
     IT IS SO STIPULATED
5

6    /S/ JASON HITT
     Jason Hitt, Esq.,                               Dated: May 10, 2012
7    Assistant United States Attorney
     Attorney for Plaintiff
8

9
     /S/MICHAEL B. BIGELOW                           Dated: May 10, 2012
10   Michael B. Bigelow
     Attorney for Defendant
11
     Nicholas Ramirez
12

13

14                                       ORDER

15
     IT IS SO ORDERED
16
     DATED:    May 15,2012
17

18

19
     /S/ Gregory G. Hollows
20   Hon. Gregory G. Hollows
     Magistrate Judge
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22

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